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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK


EDMAR FINANCIAL COMPANY, LLC, and
IRISH BLUE & GOLD, INC.,
                                                       Case No. 1:21-CV-06598
                              Plaintiffs,

                       v.                              CLASS ACTION

CURRENEX, INC., GOLDMAN SACHS & CO.                    JOINT STIPULATION AND
LLC, HC TECHNOLOGIES, LLC, STATE                       [PROPOSED] ORDER REGARDING
STREET BANK AND TRUST COMPANY, and                     TIME TO RESPOND TO THE
JOHN DOE DEFENDANTS 1-5,                               COMPLAINT AND THE BRIEFING
                                                       SCHEDULE
                              Defendants,




       WHEREAS, on August 4, 2021, Plaintiffs Edmar Financial Company, LLC and Irish Blue

& Gold, Inc. (together, “Plaintiffs”) filed a putative class action complaint (the “Complaint”)

alleging claims covering conduct dating back to 2005 against defendants Currenex, Inc., Goldman

Sachs & Co. LLC, HC Technologies, LLC, State Street Bank and Trust Company, and John Doe

Defendants 1-5 (collectively, “Defendants”) (Dkt. No. 1);

       WHEREAS, defendants Currenex, Inc., Goldman Sachs & Co. LLC, and State Street Bank

and Trust Company have each been served with the Summons and Complaint in this action, and

defendant HC Technologies, LLC disputes that it has been served but has agreed to waive service

of the Summons and Complaint;

       WHEREAS, on account of the various methods of service referenced immediately above,

the Defendants currently have multiple, different deadlines for filing a motion to dismiss or

responsive pleading;
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       WHEREAS, the parties have agreed to a schedule whereby each of the Defendants shall

operate pursuant to a common schedule for briefing of motions to dismiss the Complaint, which

will enable all parties to most efficiently prepare their brief(s) in connection with the motions,

and the Court to most efficiently consider and decide them;

       WHEREAS, there has been no prior request for an extension of any deadline in this action;

       NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by and among

the undersigned counsel for the signatory parties, subject to the Court’s approval, that:

       1.       Defendants shall each answer, move to dismiss or otherwise respond to the

Complaint by October 13, 2021. If one or more Defendants moves to dismiss the Complaint,

Plaintiffs shall file their opposition by December 17, 2021. Defendants shall file their reply or

replies by January 28, 2022.

       2.       If Plaintiffs elect to amend the Complaint in response to the filing of any motion(s)

to dismiss, they shall notify Defendants no later than November 12, 2021. At that point, the parties

shall meet and confer in good faith with regard to a new schedule in this action.

       3.       Nothing in this stipulation prevents any party from seeking further extensions on

the consent of the parties or from the Court.

       4.       This stipulation may be executed in counterparts.




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Dated:    August 24, 2021
          New York, New York

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 Counsel for Plaintiffs and the Proposed
 Class




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         I, Gregg L. Weiner, am the ECF user whose username and password are being used to file
this JOINT STIPULATION AND [PROPOSED] ORDER REGARDING TIME TO RESPOND
TO THE COMPLAINT AND THE BRIEFING SCHEDULE. I hereby represent that all
signatories to this document have concurred in this filing.


Dated:    August 24, 2021
          New York, New York
                                              ROPES & GRAY LLP
                                              /s/ Gregg L. Weiner
                                              Gregg L. Weiner




                                         *       *       *

                                             ORDER



         IT IS SO ORDERED.

DATED: _________________________              _______________________________________
                                              THE HONORABLE LEWIS A. KAPLAN
                                              UNITED STATES DISTRICT JUDGE




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